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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

 AMERICAN PUBLIC HEALTH
 ASSOCIATION, et al.,

 Plaintiffs,                                            Civil Action No. 1:25-cv-10787-WGY

 v.

 NATIONAL INSTITUTES OF HEALTH, et al.,

 Defendants.



                                    NOTICE OF APPEAL

       Pursuant to Rule 4(a)(1) of the Federal Rules of Appellate Procedure, all Defendants1

hereby appeal to the United States Court of Appeals for the First Circuit from the order and

partial final judgment entered in this case on June 23, 2025, Doc No. 138, as well as from all

other interlocutory orders merged into that order and judgment.

                                                    Respectfully submitted,

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                                                    LEAH B. FOLEY
                                                    United States Attorney

                                                    KIRK T. MANHARDT
                                                    Director

                                                    MICHAEL J. QUINN
                                                    Senior Litigation Counsel

       Dated: June 23, 2025                         /s/ Anuj Khetarpal

1 National Institutes of Health; Jay Bhattacharya, in his official capacity as Director of the

National Institutes of Health, United States Department of Health and Human Services, and
Robert F. Kennedy, Jr., in his official capacity as Secretary of the United States Department of
Health and Human Services.
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                                     CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

       Dated: June 23, 2025                                   /s/ Anuj Khetarpal
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